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AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District
                                                  __________     of Columbia
                                                             District of __________

   THE NATIONAL ASSOCIATION FOR THE
ADVANCEMENT OF COLORED PEOPLE (NAACP),
                                                                   )
                                                                   )
                             Plaintiff
                                                                   )
                                v.                                 )       Civil Action No. 17-1907 CRC
 Donald J. Trump, in his official capacity as President            )
       of the United States of America, et al.                     )
                            Defendant
                                                                   )


                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) The United States of America
                                         United States Attorney's Office
                                         Civil Process Clerk
                                         555 4th Street, NW Washington, DC 20530




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Joseph M. Sellers
                                         Cohen Milstein Sellers & Toll PLLC
                                         1100 New York Ave., N.W., Fifth Floor
                                         Washington, D.C. 20005
                                         Tel: (202) 408-4600


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:             09/20/2017                                                               /s/ Nicole M. Wilkens
                                                                                       Signature of Clerk or Deputy Clerk
